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     IN TH E UM TED STATES DISTRICT CO URT FO R TH E SO UTH ERN
          DISTRICT O F FLO RIDA W EST PALM BEACH DIVISION

                                    CA SE NO .12-80364-CIV-M ARRA/BR ANN
                                                                         'ILEO jy ï
JO H N K O RM A N                       )                                       .       a-c*
Private A ttom ey G eneral,             )                          At/: 9t 29,2
                            Petitioner, )                          n
                                        )                          îTL
                                                                     zfv(o,)-;
                                                                             ,)
                                                                               Kjjyyg
                                                                             .,...wr,e.

                                        ) CIVIL RIGHTS 1983 VIOLATI                   .
AURORA LOAN SERVICES LLC;               )          FORGERY
OFFICE OF CEO,AND PRES OF AURORA;)                   USU RY
AURORA BANK FSB;                        )      CIVIL CONSPIRACY
M ERSCORP H OLDINGS,INC;                )       STELLIONATION
M ORTGAGE ELECTRONIC                    )       INTRINSIC FRAUD
REGISTRATION SYSTEM S INC;              )     ATTEND TED LARCENY
LEHM AN XS TRUST 2006-119               ) FRAUDULENT CONVERSIO N
LASALLE BANK N.A.asTRUSTEE;             )    CONSTRUCTIVE FRAUD
U.S.BANCORP assuccessorTRUSTEE;          )    VIOLATION OF FDCPA
A SSO CIATES LAND TITLE IN C ;           )     VIOLATION OF TCPA
THEODORE SCHULTZ,lndividual;             )     VIOLATION OF FCRA
LAURA M CCANN,lndividual;                )   VIOLATION OF FD U TPA
CYNTHIA W ALLACE,lndividual;             )         M AIL FR A UD
JOANN REIN,lndividual;                   )         W IR E FR A UD
LAW OFFICE OF DAVID J.STERN P.A.; )                U TTERIN G
DAVID JAM ES STERN,Esquire;              )            lt.I.(2.().
KAROL S.PIERCE,Esquire;                  ) FR AU D ULEN T IN D U CENG NT
CASSANDRA RACINE-RIGAUD,Esquire; )                 FA LSE CLA IM
M ISTY BARNES,Esquire;                   )      M ORTGAGE FRAUD
D ARLINE DIETZ,Notary;                   ) PROFESSIONAL NEGIGENCE
JOHN DOE 1- 100;                         )
JANE DOE 1 - 100;                        )        DEM AND FO R JUR Y
                                         )                 TR IA L
                             Defendants. )           Fed.R.CiV.P.38(b)
                                                /

OBJECTION TO DEFEND ANTS'AURO RA LOAN SERVICES LLC.AURORA BANK FSB.
G RSCORP H OLDINGS INC.M ORTG AGE ELECTRONIC REGISTRATION SYATEM S
 INC.LASALLE BANK N.N..AS TRUSTEE.U.S.BANCORP AS SUCCESSOR TRUSTEE
  AND LEHM AN XS TRUST M ORTGAGE PASS-THROUGH CERTIFICATES SERIES
                      2006-11'S M OTION TO DISM ISS


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       PetitionerObjectstoDEFENDANTS'AURORA LOAN SERVICES LLC,AURORA BANK
FSB ,M ER SCO RP H OLD IN G S IN C,M O RTG A GE ELECTRO N IC REG ISTRA TIO N SY STEM S

IN C,LA SA LLE BA N K N .A .,AS TRU STEE,U .S.BA NCO RP A S SUCCESSO R TRU STEE AN D

LEH M A N XS TRU ST M O RTG AG E PA SS-TH RO U GH CERTIFICATES SERW S 2006-11's

M O TIO N TO D ISM ISS,and as grounds state;


1.     ln determining whetherto grantaRule 12(b)(6)motion,ora8,9(b)or12(e)motion,theCourt
shallnotdismissacomplaintifitincludes..enoughfactstostateaclaimforreliefthatisplausible
onitsface.''BellAtlanticCorp.v.Twomblv.550U.S.544,570,127S.Ct.1955,(2007).TheCourt
G.mustWew thecomplaintin thelightmostfavorabletotheplainttffandacceptalloftheplaintt
                                                                                   ffs
well-pleadedfactsastrue''American United LifeIns.Co.v.M artinez.480F.3d 1043,1057(11th
Cir.2007).
2.     TheSupremeCourthasexplainedthatacomplaintneedonlyGkivethedefendantfairatl/ice
ofwhattheplainhff'sclaim isandthegroundsupon which itrests.''Swierkiewiczv.SoremaN.A.,
534 U.S.506,512 (2002);accord Atchison.Topeka & Santa FeRv.v.Buelt 480 U.S.557,568
n.15 (1987). FederalRulesembody étnoticepleading''andrequireonly aconcisestatementofthe
claim ,ratherthan evidentiary facts.The sim plified notice pleading standard relies on liberaldiscovery

rulesandsummaryjudgmentmotionstodefinedisputedfactsandtodisposeofunmeritoriousclaims.
See Swierkiewicz,534 U .S.at512.Indeed,courtshave found thatifthe inform ation soughtby the

m otion is obtainable through discovery,the m otion should be denied.See,e.g.,Tow ers TenantA ss'n

v.TowersLtd.P'ship,563 F.Supp.566,569 (D.D.C.1983).
        D efendants'M otion to D ism issshould be view ed in the properlight,which is,M O RTG AG E

ELECTRONIC REGISTRATION SY STEM S INC,(hereinafterCtM ERS'')isaprivateregistry,not
unlike the public registry found within the County ofPalm Beach Florida.M ERS,orits authorized



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agents,such asa VicePresidentoraCertifying Officerts)ofM ERS lack thelegalcapacity to assign
theM ortgageunilaterally,withoutthe written authorization from theLenderpursuantto theStatute of

Frauds;seeAgard,8-10-77338-reg,U.S.Bankruptcy Court,Eastern DistrictofNew York

CentralIslip(2-10-2011).SeealsoPetitioner'sExhibitheretoattached andincorporatedhereinby
reference,titled M ORTGAGE ELECTRONIC REGISTRATION SYSTEM S INC,vsNEBRASK A

DEPARTM ENT OF BANKING AND FINANCE;BRIEF OF APPELLANT (M ERS).Seealso
Petitioner's(             ' )REQUEST FOR JUDICIAL NOTICE OF ADJUDICATIVE FACT
(DE 57)filed July 31St2012.
4.     lntheAppellant's(M ERS)Briefcounselargues,inpart,*6MERS,which only holdsthe

beneficialinterestin theM ortgageffyey inanomineecapacityfortheownerandholderofthe
prom issory note secured by such m ortgage.''''J.The D istrictCourterred :.ynotpnding that

M ERS'ownership ofa legalinterestinthemortgagedoesnotequatetoMERS'ownershl
                                                                         è ofthe
promissory note''TTMAW,
                      Ndoesnottakeapplicationsfor,unA rwrffcornegotiatemortgageloans.
M ERS doesnotmakeororiginatemortgageloansto consumers.M ERS doesnotextend any credit

to consum ers.M ERS doesnotservicem ortgageloans.M ERS doesnotsellmortgage loans.M ost

importantly,M ERS isnotan investorwho acquiresm ortgageloanson thesecondary m arket.''

**lnherefore,theDepartmentandMERSareinagreementthattheonlystatutoryactivi@ atissue,
andtheonly issueforthisCourttodecide,iswhetherM ERSacquiresmortgageloans.''(Emphasis
intheoriginal.)CounselforM ERScontinuestoargue,inpart;*6In itsOrder,theDistrictCourtfailed
torecognizethatM ERS in itsagreementwith itsmembers,cannotexercise,andiscontractually
prohibitedfrom exercising,anyofthez'fp/1/ç
                                         ,orinterestsin themortgagesorothersecurity
documents.M ERSisnamedasthe''ntm fnce''ownerunlessand untilitisauthorizedtodosoY
therealand benefcialownersofsuch securitydocuments.''TT
                                                      lff#S onlyactswhendirectedtoby
itsmembersandforthesolebeneftoftheownersand holdersofthepromissory notessecuredby

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themortgageinstrum entsnaming M ERS asnomineeownen''..consequently,M ERS isnam ed as

themortgageein anomineecapacityfortheactualownerand holderofthepromissory note
secured by themortgageeasdescribedabove.''TTM AWS
                                                Nisnottheownerofthepromissorynote
secured by the m ortgage and has no rfg/1/,
                                          &to thepaym entsm ade by the debtor on such prom issom

note.''The O pinion handed dow n by the Suprem e CourtofNebraska is found in Petitioner's

(              ' )REQUEST FOR JUDICIAL NOTICE OF ADJUDICATIVE FACT (DE 57)filed
July 31St2012, certified copv.

5.     The firstM ERS assignm entfabricated from whole c10th w asused in CA SE NO .07-80998-C 1V -

RY SK AM P /V ITU NA C ,IN TH E U N ITES STATES DISTRICT COU RT FO R TH E SO UTHER N

D ISTR ICT O F FLO RID A ;wherein,the M ortgage togetherw ith the NO TE isalleged to be assigned.

       AU RO RA LO AN SERV ICES LLC and itsem ployeesLA U RA M CCA N N ,and CYN TH IA

W ALLACE,a/k/aCINDY W ALLACE testifiedGA uroraistheassigneeofthemortgageapursuant
totheCorporateAssignmentofMortgageattachedhereto.''intentionallyomittinganymention ofthe
N O TE,aftera11the M ortgage follow s the N OTE,assignm entofthe M ortgage alone withoutthe

N O TE is anullity;see IN TERRO GA TO RY ,Exhibit*A ''attached to the Com plaint.LA U RA

M CCA NN ,and CY N TH G W A LLA CE furthertestified A U RORA LO A N SER VICES LLC isthe

N O TE-H o1der.W hen Petitionerrequested to see the genuine N OTE and A URO RA LOA N

SERV ICES LLC refused,Petitionerw ith-held paym entw ith-outdishonor;see Unifonn Com m ercial

Code (hereinafter6éU .C.C.'')3-501(2).
        DefendantAURORA LOAN SERVICES LLC filesaForeclosureAction (Case NO.50-2009-
CA-017057)againstPetitioneron the 13tbday ofM ay 2009,claim ing tobethe Ownerand Holderof

the debt,only the M ortgage-N o'rE ism issing;A U RORA LO A N SERV ICES LLC adm itsitdoes not

have possession,norcan A URO RA LOA N SER VICES LLC draw a nexusbetw een itand the original

Lendershow ing itisthe ow nerand holderfrom w ithin the fourcolmers ofthe Com plaint.

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8.     Itisnotuntilthe un-v erified A m ended Com plaintis filed one yearlaterdoesan A ssignm ent

appear,propounding thetransferofthe 'tM ortgagetogether with theNO TE''setoverto AURORA

LOAN SERVICES LLC,from M ERS;afabricated docum ent,created from who1e-c1oth,ergo created

acounterfeitpublicrecord,and placed a cloud on Petitioner'stitle,and colorably provided Standing to

DefendantAU ROR A LOA N SERV ICES LLC .

       A lthough the un-v erified A m ended Com plaintadded an un-tim ely assignm ent,and rem oved

COUNT ll,COUNT llIremained;#<...actiontoenforcealost,destroyedorstolen#rtlzzlgmr.ynote
and M ortgage.--''SeeDefendant'sExhibit4ç3''

10.    These two aforem entioned assignm ents,assigning the M ortgage togetherwith the NO TE

occun'
     ed contem poraneously while assignor isunderBanknlptcy protection,is a FederalCrim e under

Title 11,done w ithoutnotice to the JudicialTrustee adm inistering the estate'
                                                                             ,furtherm ore,

       A ssignorLEH M A N BRO THERS BA N K FSB doesnotdisclose Petitioner's M ortgage-N o '
                                                                                          l'E

asone ofitsH oldingsam idstits tçre-organization''underthe Bankruptcy proceeding;as,

12.    LEH M A N BROTH ERS BA N K FSB setoveral1right,title and interestto LEHM A N

BROTHER S H O LD IN GS IN C,which constructively sold a11right,title and interestto STR UCTURED

A SSET SECU RITIES CORPO RATION ,which constnlctively sold itsright,title and interestthereto

LEHM A N X S TRU ST M ORTGA G E PA SS-THR OU G H CER TIFICATES,SERY S 2006-11.These

aforem entioned factstll9,qI10,tll11,and % 12 arenotin dispute;
          M ER S A ssignm entis a FraudulentConveyance orFraudulentTransferbecause the

A ssignm entofthe M ortgage togetherw ith the NO TE is an illusionary assignm ent,asthe M ortgage

togetherwith theNOTE doesnotexistwithin thedebtor's(LEHM AN BROTHERS BANK FSB)
estate.




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         A UR ORA LO A N SERV ICES LLC istelling the C ourtits Standing ispredicated on a M ER S

assignm entoftheNOTE setoverfrom LEHM AN BROTHERS BANK FSB,while in Bankruptcy,two

yearsafterLEHM A N BROTHER S BA N K FSB sold allright,title and interest.

15.      The aforem entioned assignm ents are fabricated forthe sole purpose oflitigation,to illegally

deprive Petitioner and otherssim ilarly situated oftheirhom e,and ita11com es from the top,starting with

the Presidentand the ChiefFinancialOfficer(hereinafter'f FO'').AURORA LOAN SERVICES LLC,
it'sPresidentand CFO ,the people who signed the assignm ents,the law yersw ho prosecute the case,al1

actw ithoutthe Lenders authorization,an ultra virusact,done knowingly,as the aforem entioned case

illustrates in M ERS vsN EBRA SIG DEPARTM ENT OF BA N KIN G w hich concluded in 2005.This

show sM ERS lack ofover-sightand lack ofcop orate governance years afterthe Suprem e Courtof

N ebraska rtzled in favor ofM ERS because M ER S testified itdid notdo w hatthese assignm entspurport

to do.

16.      Everv M ERS assianm ent(in aJudicialState)assigningtheM ortgage withouttheLender's
written authorization isconstructively and adm inistratively ineffective.A M ER S assignm entassigning a

N O TE isan ineffective assignm ent,ab initio.

         Once a party is m ade aw are ofan ultra virus actand thatparty continues acting im properly,the

iIITFOPW actbCCOIXCS allilltelltiollalact,done W antonly,With m alice Offorethought.

18.      K onnan'S M otion to DISM ISS the Foreclosure A ction in the State Courtw as G R A NTED ''1

onM arch 1St2010inrespecttoPlaintiff's(AURORA LOAN SERVICESLLC)violationofthe
verificationrequirement,seeFIa.R.CiV.P.Rule1.110(b),butAURORA LOAN SERVICES LLC was

Orderto<<...serveaproperlyrerl
                             g
                             /l# secondamendedcomplaintnolaterthanA#8!3,2012.''


E11The Honorable Judge John J. H oy altered Plaintiff'sprepared Orderin favorofthe D efendant
tKonzlanl,the prepared OrderisTitled ORDER DENYING DEFENDANT'S M O TION TO
DISM ISS,lookslike itisGRANTED in favorofthePlaintiff,butreading theOrderwefind...

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19.     Effectiveasofthe30* day ofM arch 2012 isaNO TIFICATIO N OF ASSIGNM ENT, SALE

OR TRANSFER O F YOUR M ORTGAGE LO AN,setoverto SRM OF 112011-1 TRUST,itappears

AU RORA LOA N SERV ICES LLC hasabandoned its Claim ;Petitioneris inform ed the M ortgage-

NO TE hasbeen transferred to thisnew entity,presum ptively acquired from AU R ORA .

        Effective as ofthe firstday ofM ay 2012 Petitionerisinfonned by SELENE FINA N CE,in part,

**WelcometoSeleneFinanceLP (**Selene''
                                     ).Theservicing ofyourmortgageloanistransferredfrom
AuroraBank to Selene''(AURORA BANK FSB and AURORA LOAN SERVICES LLC merged July
21St2011 (hereinafterSCAURORA''I)
21.      O n the 22ndday ofJune2012 AURORA LOAN SERVICES LLC (which no longerexists)filed

a M O TIO N FO R EX TEN SIO N OF TIM E TO FILE V ERIFIED AM EN D ED CO M PLA IN T,w hich w as

GRANTED on the 16thday ofJuly 2012,AURORA LOAN SERVICES LLC wasgranted twenty (20)

days in which to file a verified second am ended com plaint.

22.     The G LA D STON E LA W GR OU P P.A .filed the M O TIO N FO R EX TEN SION O F TIM E,

representing to representA U RORA LO A N SER VICES LLC,Danielle D .H ollander,an associate

Esquire appeared,argued the M otion inform ing the courtGLA D STO NE LAW G ROU P P.A .doesnot

havetheassignmentyet(translation;so we areusing AURORA'Sname(illegally,withoutaretainer
agreement)untilwecan make itlegalusingtheAssignee'snam e);
23.     The Honorable SeniorJudge How ard H .H arrison rem inded M s.Hollander she needed to file a

substitution ofPlaintiff,she agreed.


E11 IETH IS M A TTER cam e on forconsideration upon D efendant's M otion to D ism iss...''ftrrhe M otion is
herebygranted(infavoroftheDefendant)onthegroundsofverification only.Plaintiffshallservea
properly verified second am ended com plaintno laterthan April3,2012.D enied on other grounds''
(othergroundsbeingtheissueofstanding,fabricated documentsetc.)ThisOrderGRANTED the
D efendant'sM otion to Dism lss.
(Readeristo disregard thetitleasithasno forceoreffectin law,only thebody ofthe Orderislaw of
thiscase.)

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              SandraW eisman,alaassociateEsquire ishandling the case,indorsing thepaperwork for

GLA D STO NE LA W G RO UP P.A .

25.           TheGLADSTONE LAW GROUP P.A.intentionally(miss)informedtheCourtit
representsAURORA LOAN SERVICES LLC,when in factitrepresentsSeleneFinance,the servicerof
SRM OF 112001-1TRUST asAURORA LOAN SERVICES LLC leftthe arenaon the 30thdayof

M arch,supra,anotherFraud upon the Courtin developm ent;furtherm ore,this Fraud upon the Courtis

done w ith the fullknow ledge ofGLAD STO NE LA W G RO UP P.A .etal.,thatitdoesN OT represent

AURORA.Itappearsthe GLADSTONE LAW GROUP P.A .istrying to savethe$2,000.00 re-filing

fee.

              TheGLADSTONE LAW GROUP P.A .,the 1aw office ofBROAD AND CASSEL,

ALBERTELLILAW ,and LA W OFFICES OF D A VID J.STERN P.A .,a1lreceived a Requestto

Validatethealleged debt,Return-Receipt-Requested (hereinafterf6RRR''),within the 30 daysoftheir
firstcom m unication with Petitioner,butonly LAW OFFICES OF D AV ID J.STERN P.A .,and The

G LA D STON E LAW GR O UP P.A ..continued collection effortsw ithoutV alidating the debt,in violation

oftheFDCPA.NOTICE TO PRINCIPAL IS NOTICE TO AGENT,(A SSOCIATE).
27.           Case NO .50-2009-CA -017057-XX XX -M B,IN TH E CIRCU IT CO URT O F THE

FIFTEEN TH JUD ICIA L C IRCU IT,IN A ND FOR PA LM BEA CH CO U N TY ,FLO RID A is dead;

how everthe officialeorner'sreporthas notbeen released yet.

28.           The..
                  xlicein Wonderland Worldxccording toKorman''isaffirmedbyExhibitt4Q''
attached to the Com plaint,authored by Richard Kessler,titled EX PLA NA TION OF

SECU RITIZA TION .Richard Kessleris a graduate ofY ale Law Schooland a W ashington,DC

A ttom ey.




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29.    LEX ANASTASIANA:
       lex Anastasiana (leksan-<<schwa>>-stay-shee-ay-n<<schwa>>).
       2.A law providing thata person purchasing a debtfrom the originalcreditor for less than
       itsnom inalvalue w asnotentitled to recoverfrom the debtorm ore than the am ountpaid
       w ith law fulinterest. B lacks 8th pg :66:.

30.    The question is;who hasPetitioner'sloan receivable on theirbooks? Itisthe TrustCertificate

H older,held in the street-nam e ofCED E & Co,nom inee ofthe D epository TrtlstCom pany;docum ented

withinthePoolingand ServicingAgreement;seealsoExhibit'çQ''attachedtotheComplaint.
31.    A UR ORA LO A N SER VICES LLC is a debtcollector,adm ittedly.Every letterorpiece

ofliterature everm ailed to Petitionerfrom A U RORA reads,in part;*A urora D ca Servicesisa

debtcollector.Aurorafzlca Servicesisattempting to collectadebtand c/ly information
obtainedwillbeusedforthatpurpose.''
32.    AU ROR A LOA N SERV ICES LLC collecting the debtforLEHM AN BRO TH ER S BA N K

FSB,the originalLender,A U RO RA LO AN SERV ICES LLC isnotconsidered to be a debtcollector,

however once the debtw assetoverto LEH M AN BRO TH ER S H OLD IN G S IN C,a strangerto the

originalnegotiation,A UR ORA LO A N SERV ICES LLC took on the cloak ofa debtcollector,liable

underthe FD CPA .

33.    AU RO RA LO AN SERV ICES LLC w ho has alleged itacquired the debt,should bring forth its

books and recordsand show this Courtwhatitpaid forPetitioner's alleged debt,and underthe legal

theory oflex A nastasiana Petitioner is only liable forthatam ountw hich w as actually paid,plus

lawfulinterest,otherwisetheamountpaidisTen(sqo.ljljl,primafascia.ChargingPetitionerFifty-
Thousandpercent(50,000 % )intereston aTen ($10.00)debtismore than doublethe crim inalusury
rate;see j687.071(7),Fla.Stat.(2010).
34.    UndertheTELEPHONE CONSUMER PROTECTION ACT (hereinafter''TCPA''),acallis
exem ptfrom the TCPA ifthe call;Ism ade to a consum er w ith w hom the calling com pany has an

established businessrelationship.Thisrelationship cannotbeestablished merely by having m ade

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a prior solicitation call.The custom er ends this exem ption w hen he or her requests thatno m ore

callsbe m ade.Petitionerand A U RORA do nothave an established business relationship.A UR ORA

does nothave an agreem entw ith Petitioner,orany otherBorrow er in a sim ilar situation.A URO RA 'S

agreem entis w ith som e strangerto the originalnegotiation,as such,when AU RO RA received a fEdo

notcall''letter,butcontinued to callPetitioner,violated the TCPA .

35.    Every autom ated collection callfrom AU RO RA is a separate and distinctviolation.

36.            AURORA violated theFAIR CREDIT REPORTING ACT (hereinafter'TCRA'')by
reporting tfunverified''inform ation because ifA U RORA verified the alleged debtitw ould be required

to getthisverification from the Lender,w hich isnotLEH M A N BRO THERS BAN K FSB .

V erification m ustcom e from the Lenderand sam e be forw arded to the Borrower.A llthird-party-

D ebt-collectorsm ustadhere to the FCRA .Petitionerm ailed a num ber ofD ebtV alidation letters to

AURORA overafouryearspan,which wasnevercomplied with,yettheunverified debt(which is

grosslyover-statedbyAURORA)rem ainson Petitioner'screditreport,aviolation ofthe FCRA,
causing harm to Petitioner.A 11DebtV alidation lettersw ere m ailed to A UR ORA GtRRR .''Penalty fora

FCRA violationisOne-rrhousand($1,000.00)perviolation,whichreoccursmonthly,perreporting
agency,com esto a sum totalof(approximately)One-Hundred-and-N inety-Two-Thousand
($192,000.00),and counting,only now itisSeleneFinanceLP which isviolating theFCRA,presently
a non-party.

               The R .I.C.O .claim againstA U RORA orM ERS m uststand as a m atterof law ;

Petitionerstandsbefore this Courtin the capacity ofa Private Attom ey General,notalone butw ith

otherssim ilarly situated.Petitionerm aintains,M ER S m aintains and the Suprem e CourtofNebraska

m aintainsM ER S doesnotacquire M ortgage-N o -rEs.H oweverchecking the Palm Beach County

Court's Record find,on the firstcom puterscreen,the Certified assignm ents which com prise

Petitioner'sREQUEST FOR JUDICIAL NOTICE OF ADJUDICATIVE FACT,dated8* dayof

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A ugust2012,wherein is found KO RM AN 'S COR PO RA TE A SSIG NM EN T OF M ORTGA G E,and

includesan additionalEight(8)such assignments.Each shareacomm on thread;each corporate
assignm entisprepared by AU RO RA ;w ithin each corporate assignm entthe A ssignoris LEHM A N

BROTHERS BANK FSB while underBanknlptcy protection;eaeh cop orateassignm entisfound

within an active 2009 civilforeclosureAction;each corporate assignmentisindorsed by an AURORA

em ployee;each corporate assignm entpurports to assign the 6..-.slortgage together with the Note...''

each corporate assignm entdisplays the M ERS Seal,indicating an agency relationship betw een

AU ROR A and M ER S;and notone ofthe assignm ents which purports to assign the M ortgage together

w ith the N ote isaccom panied by a Pow er-oflA ttorney or sim ilarauthorization from the Lender;ergo

each assignm entisineffective;should aforeclosure resultfrom thesecolorableassignmentsisan

injurysustained,whichispreventable.
38.    ThisCourtisinauniquepositiontopreventacrime,notjustadjudicateaninjuryafterthefact.
39.     Compilation oftheAssignm entsm akesnine (9)predicateactsofFraud,alldoneknowingly

w ithin a one yearspan oftim e.

40.    A ttorneys are learned people in the law ,know M ERS can notassign a beneficialinterestin the

NOTE (since 1995),butbefore thisCourtwehavenine(9)such examples(there arehundreds)from
theyear2009,(hundredsmorein 2010 etc)afterLEHM AN BROTHERS BANK FSB filefor
Banknlptcy,and four(4)yearsafterthe Opinion handed down in theSuprem eCoul'tofNebraska.
41.     Petitionerisacting in the capacity as a lawfulPrivate A ttorney G eneral,to enforce alegalright

which willbenefitthecomm unity asa whole;seeJudiciary Actof1789,
                                                               .see CivilRightsActof1866,

 14 Stat.27,(som etimesrefen-
                            ed to asThePrivate AttorneyGeneralAct)39th Congress,Sess 1,Ch 31
(1866),CHAP.XXXL (Formallytitled):An Actto protectalIPerstmsin theUnited Statesin their
 CivilRights,and furnish theM eansoftheirVindication,April9,1866)PublicLaw 104-317,Oct19,

 1996,110 Stat3853;93 stat1284;Public Law 96-170,96th Congress,D ec 9th 1979;and see also


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AdministrativeProcedureActof1946 (hereinaftert6APA''),underS.7,60stat237andunderUnited
StatesCode,Title 5,GOVERNM ENT ORGANIZATION AND EM PLOYEES.Pursuantto theAPA

of 1946,60 stat237,underS.7,perCongressionaldecision,a private Citizen,non-lawyer/non-attom ey

has the rightto actas counselon behalf of a private Citizen in Courtwithouthaving a 1aw degree.A

Citizen,who occupiesthe office ofPrivate A ttorney G eneral,is authorized to bring a civilcharge as

w ellas a crim inalCom plaint.

42.    A 11Defendants are violating Petitioner'sCivilRightsand the C ivilR ights ofotherssim ilarly

situatedbyun-lawfullyandillegallyconspiringjointlyandseverally,todeprivePetitionerofpossession
ofhisprimarydomicile,andtheotherswhich aresimilarlysituated,seeREQUEST FOR JUDICIAL
NO TICE OF ADJUDICATIVE FACT,dated 8tbday ofAugust2012;see also M ERS vs

NEBRASK A DEPARTM ENT OF BANKING,itisblack on whitepaper.TheseCorporationsare an

on-going crim inalenterprise w hich is shifting a greatdealofwealth to a selectfew pulling the strings.

43.    These Corporate A ssignm ents,supra,are notilm ocentm istakes;they are the norm ,intentional

acts,m odus operandi,and each assignm entis a known illegalactdone w ith dolus.

44.    Petitioner is inform ed and believe,allege thereon thatherein each D efendantis an A gent,

Servant.representative,or/and em ployee oftheir co-Defendants,and in doing the thingsherein alleged

is acting in the capacity ofauthority as A gent,Servant,representative,or/and em ployee,w ith the

perm ission and consentoftheirco-D efendants.

       Petitionerisinfonued and believes,allege thereon thathere each D efendantassisted,aided and

abetted,adopted,ratified,approved,or condoned the actions ofeach otherD efendant,and each

D efendant.C op orate or otherw ise,is acting asthe alterego ofthe otherin the acts alleged herein;for

exam ple'
        ,




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46.    LASA LLE BA NK N .A .,A S TRU STEE,U .S.BA N CO RP A S SU CCESSOR TRU STEE for

LEH M A N X S TRU ST M ORTGA GE PA SS-THR OU GH CERTIFICA TES SER IES 2006-11,aided

and abetted allthe actorsby doing nothing,butknow severything,and profited from keeping quiet.

Trustee and successorTrustee know they are m issing m ostofthe Closing-D ocum ents,as they w ere

neverdelivered.Trustee iscollecting on the insurance policiesand defaultcreditsw aps and allow ing

the Servicerto foreclose,albeitthey know a crim e isbeing com m itted and they say nothing.W hen a

person becom es aw are ofa crim e and doesnothing eitherto preventthe crim e and orreportthe crim e

becom es com plicitin thatcrim e.W hetherby contract.ora nod-and-a-w ink,failure to reporta crim e,

the w itness to the crim e has entered into a civilconspiracy w ith the party ofthe firstpart.

       A Creditorisentitled tobe paid,once.OncetheCreditorhasbeen paid the debtisdischarged.


               Uniform Comm ercialCode 3-602(a),states,in relevantpart;
                (b)...an instrum entispaid to theextentpaymentism ade
               (i)byoron behalofapcrfy obligedtopay theinstrument,and
               (ii)toapersonentitledtoenforcetheinstrument.Totheextentofthe
               payment,theobligationoftheparty obligedtopaytheinstrumentis
               dischargedeven thoughpaymentismadewith knowledgeofaclaim tothe
               instrumentunderSection3-306Y anotherperson.

48.     A UR ORA ,the Servicer,filed a Com plaintagainstPetitionerusing fabricated assignm ents,

using learned A ttonzeys who klzow the docum entsare fabricated,or should klaow.m iss-inform s the

Courtin orderto deprive a hom e-owneroftheirlife savings,in som e cases.W hatm ostpeople know is

they borrowed a sum ofm oney,boughta hom e and forwhateverreason failed to m ake thepaym ents,

therefore they lose the hom e through foreclosure.W hatm ostpeople do notknow is the party

foreclosing on the hom e hasnothing to do with the debtowed,and isgetting a free house,with the

hom e-ow ner's equity.A free house can be sold fora fraction of its assessed value asitisallprofitto

thepretend Lender/Plaintiff(minusthelegalexpense).


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       Defendantsherein a1lconspiredjointly,orseverallytodeprivehome-owner'sofpossessionby
suing them and picking offthe low hanging fruit.This activity,using the Courtsasa profitcenterisa

denialofa due processright,whereby through trickery,legal-ease and Superior-Know ledge hom e-

owners are deprived of a due process right,and theirlaw fulrightto possessproperty,both rights

protected underthe Constitution.

50. PetitionerstronglyobjectstoDefendantsuggestingthiscasebeDismissedonaFed.R.CiV.P.
Rule 8 violation.Petitionerbelieves the Com plaintissim ple,concise,clearand direct.Petitioner

believesanyone reading thisCom plaintunderstands,asdoesthe D efendant,the A ssignm entis

fraudulent,thatpointcan notbe em phasized orrepeated enough untilsom eone actually understands it.

51.     M ERS and AURORA are involved with creating impropermortgage assignments.SeeM ERS

vs NEBR A SK A D EPA RTM EN T OF BA N K ING ,supra.Petitionerrecitation ofhow a N O TE is

securitized wasvery short,sim ple,concise,clear and directconsidering the Pooling and Servicing

Agreement,TrtlstAgreement,Prospectus,M asterAgreementandothers(hereinafteri'Controlling-
Documents''),amountsto aboutFifteen-Hundred (1,500)pagesreduced to five (5)pagesfound in the
Com plaint.H oweverwhen a Com plaintcanies an accusation ofFraud itm ustbe pled w ith

particularity,nam es,dates,places,tim es,eventsetc.,which takes som e space.Thislaw -suithasm ore

than oneortwo accusationsofFraud,and variestypesofFraud by multipleparties,occurring atvaries

timesoverafiveyearperiod.IfPetitionerdoesnotmention aninjurywavestherighttodosolater,so
allinjuriesmustbepled,arldthiscasehasThirty-Five(35)legitimatecountsofallegedwrongdoing,
and a properfoundation m ustbe laid w ithin the fourcornersofthe Com plaint,foreach instance.

52.    The D eclaratory Judgm entissue needsto be view ed in propercontext.On the firstday ofM ay

theStateForeclosure Action wasconditionallyDISM ISSED.howeverAURORA wasgiven untilthe

3rdday ofApril2012 to file an A m ended C om plaint. W hen thattim e passed Petitionerrelied on an

OrderoftheCoul't(presumptively)Dismissingthecaseon the4thdayofAprilPetitionerfiledhis

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Com plainton the 5th day ofA prilto avoid this t4piecem eal''perception. Reading the Ordersigned by

the HonorableJudgeJohn J.Hoy,ORDERED AND ADJUDGED in part;E:...shallyerpeaproperly

venTedsecondamendedcomplaintnolaterthan...''(emphasisadded)
53.    Petitioneristrying very hard to play by the rules and those nzlesdo allow a fulland com plete

expression ofonesinjury,thefraudulentbehaviorofaCorporation andpeoplerunningit,nomatter
the size ofthe C om plaint,so long asitis sim ple,concise,clearand direct.

54.    Attorneys which are Third-paly-Debt-collectors,asare allthe attorneysherein m entioned,

can beheld liableundertheFDCPA,15U .S.C.S.j 1692 etseq,seeH eintzv.Jenkins,514 U.S.291;
115S.Ct.1489,131L.Ed.2d 395 (1995);
       A M ortgage-N o '
                       rE isconsidered a consum erdebt;an A ttorney in the business of collecting

consum er debts falls underthe FD CPA .The allegation herein is these Attorney'sare working forthe

Servicer,who doesnothave the Lender's perm ission to com m ence an A ction,Lender m ay noteven be

aw are there is a foreclosure going on because he/she/itis getting theirpaym entevery m onth,pursuant

to the i6controlling-llocum ents.''Petitioner isnotin Default,neverw as.This isw hy no-one willverify

the debt.

56.    A ttom eysw hich use the Courtsystem forpersonalgain by filing frivolous law -suitscan be

held liable for thatbehavior,they are notim m une.

57.    Fraud upon the Courtby an Attom ey,O fficerofthe Court,done know ingly,ordone byw ay of

thatAttom ey's incom petence,can be held liable forthatbehaviorby the Court.

58.    JudicialEstoppelisproperly exercised by the Courtwherein a Plaintifftakes a position w hich

isdiam etrically opposed to a priorposition;therefore JudicialEstoppelisw arranted w ithin this instant

action.A UR ORA com ing into Courtavening itisthe O wner and Holderofthe NO TE is a fraudulent

factum (which itrefused to verify).AURORA hasnevertold the Court,notonce,itisthe Servicer
acting forsom e third party.ltisclear.A UR ORA is the Servicer,filed a Com plaintin its own nam e for

KORM AN v AURORA etaI.                      Page 15 of19
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itsown benefit,and offered to m odify Petitioner'sM ortgage-N o '
                                                                rE w ithoutthe legalcapacity to

perform .

59.    A ny accountantw illtellyou there are tw o sides ofa ledger,the Creditside and the D ebitside.

W hen a N O TE isdeposited w ith a banking institution,like LEH M A N BROTHERS BA N K FSB,the

face value ofthe N OTE appearson theirD ebitside ofthe ledgerand the Borrower's accountis

credited w ith the am ounton the face ofthe NO TE.The N OTE isthe Bank's liability,and the

Borrow ers'asset/deposit.The Borrowercreated the debtinstrum entand isthe source ofthe funds;

see Petitioner's ExhibitCIC''Certified copy in hand,titled A FFID AV IT O F W A LKER F.TO DD ,

EX PERT W ITN ESS FO R TH E D EFEN D AN TS,attached to the Com plaint.The Borrow er isthe

CreditorunderEiG A AP''G enerally A ccepted Accounting Principles.The Borrow erholds apossessory

rightin the N OTE and m ustbe turned overonce discharged.The Petitionerw as nevertold the N OTE

w as going to be sliced and diced and w ould neverbe returned,thisiscontrary to establish law .

60.    Petitioner'sN OTE can notbe transferred w ith a blank indorsem entbecause Petitioner'sN O TE

isa non-negotiable instnzm ent,as such;thisN OTE m ustbe Specially-lndorsed and delivered to the

endorsee,w ho m ustacceptitperfecting the negotiation.A NO TE indorsed QGwithoutrecourse''m eans

the Indorserrelinquishes a11liability attached to the instrum ent,from the new H older.

61.    D ouble-D ipping occursw hen the N OTE is securitized and the N OTE rem ains in existence.ltis

illegalto have the N OTE and the derivative security existtogether,which hasthe legaleffectof

doubling the debt.See Petitioner'sExhibit'tE''Certified copy in hand,attached to the Com plaint,

wherein the Attorney for the Florida Banker'sA ssociation,before the Suprem e CourtofFlorida

admitted'
        ,.....thephysicaldocument(NOTE)Agc,
                                          :deliberatelyeliminatedtoavoidconfusion
immediately upon itsconversiontoan electronicfle.''(emphasisaddedforclarity)
62.    Stellionation isthe actofselling the sam e thing m ore than once.




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63.   R egulation Z;Sec.226.39 M ortgage transfer disclosures,requiresthe new ow nerofthe ttdebt''

to notify the Borrow erof a change ofcreditor,which isa condition precedentto collection ofthatdebt.

64.    Petitionerdeniesobtaining a$650,000.00 loan from LEHM AN BROTHERS BANK FSB,

Petitionerdoesadmitto receiving acreditfor$650,000.00.FurthenuorePetitionerdeniesLEHM AN
BRO THERS BAN K FSB w as the Lender,LEH M A N BR OTH ER S BA N K FSB isthe Straw m an,asthe

loan wastable-funded by theTrust-certificate-l-lolderts)by way ofaSold-Forward contract.Seethe
Controlling-D ocum ents,asthey are a m atterofpublic record.

65.    ln Petitionerm ind'seye Fraudulentlnducem entis analogousto a fisherm an'sbaited hook.

O pposing Counselargues thisisnotfraudulentinducem entbecause the fish did notbite,no harm no

foul.ButopposingCounseliscorrect,Petitionerwasnotinjuredinthemodification schemebecauseis
the duty ofM akerto verify paym entreachesthe tnle O wner-l-lolderofan alleged debt,Pow ersv.

W oolfolk,132 M o.App.354,111S.W .11879Hoffm asterv.Black,78 Ohio St.1,84 N.E.423,21

L.R.A.(N.S.)62,125 Am .St.Rep.679,14 Ann.Cas.877)Baxterv.Little,6 M ete.(M ass.)7,39
Am .D ee.707.Petitionerbelieves and is infonned A URORA LOA N SERV ICES LLC does notHold

the N OTE therefore isnotthe properparty to negotiate w ith,othersw ere notso fortunate.Butthis

Fraudulentlnducem entM odification Schem e does display the elem ents ofR.I.C.O .w herein both the

Telecom m unication W ires and the M ails were em ployed to carry outthe schem e.Butfirstthe

A ssignm entm ustshow AU RO RA has Standing to foreclose,an A ssignm entfacilitated by M ERS.

66.    Slander ofTitle startsthe clock on the Statute ofLim itation the m om entthe CivilForeclosure

A ction term inates.The Foreclosure staysthe Statute ofLim itation.SlanderofTitle occurred w hen

A URO RA recorded two Assignm ents againstthe property using fabricated docum ents.The dam age

doneisemotionalandembarrassment,unjustifiably.TheSlanderofTitleisalispendensfiledagainst
the property using fabricated docum ents.recorded in the public,costtim e and m oney to defend.

       A llthe State issuesm ustrem ain under FederalJurisdiction to avoid çipiecem eal''litigation.

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     68.    State Courtscan nottake Jurisdiction overacontroversy regarding aFederalquestion;however

     the FederalCourtm ay dispose ofa State Civilm atter.A 11the issuesherein are inter-related and stem

     from the smne cause.




F HEREFORE,PREM ISES CONSIDERED,including theadmissibleevidencefound within theJUDICIAL

     N OTICE filing,thisC ourtshould D ENY D EFEN DA N TS M OTION TO D ISM ISS,in the altenlative

     perm itPetitionerleave to A m end.



     Respectfully subm itted;




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                                                                                Boca R aton 33486
                                                                                  Florida U .S.A .
                                                                                    (561)393-0773
                                                                        korm anzool@ com cast.net




      KORM AN vAURORA etal.                      Page 18 of19
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                            CER TIFICATE O F SERVICE

TH E UNDERSIG NED H EREBY CERTIFIES thata trueand correctcopy ofhereof
hasbeen forw arded,via firstclassU .S.M ail,to the follow ing;Steven Ellison,Esquire,
Broad and Cassel,O ne N ol'th C lem atis Street,Suite 500,W estPalm Beach Florida
33401)


V ia e-m ailto the follow ing'
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H A R RIS K .SO LO M O N
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STA C Y M .SCH W A R TZ
Stacy.schw adz@ briA leym organ.com
A LBA L.CLEV ELA N D
A lba.cleveland@ brinkleym organ.com
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                                                     John Korm an
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8712 SvestDodge Road,Suite 300
Om aha,N ebraska 68114                                                                                                                NEBRASKA GLERK
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                                                                                                                                               OFAP COURT
Telephone(402)392-1250                                                                                                                             PEALS
Attonleys forPlaintilvA ppellant
  Case 9:12-cv-80364-KAM Document 60 Entered on FLSD Docket 08/08/2012 Page 21 of 47




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STATEM ENT OF FAC'TS

A RGUM ENT
               THE D ISTRICT COU RT ERRED IN CONCLUDING
               THAT M ERS M EETS THE DEFINITION OF A
               :IM ORTGAGE BANKER''UNDER NEB.REV.STAT.j
               45-70246) AND IS THEREFORE REQUX D TO
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                         MERS DOES NOT 'W CQUIRE'' M ORTGAGE
                         LOA N S OR EN G A GE IN A N
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                         M ORTGAGE         BAN KIN G      ACTIVITIES
                          DESCRIBED IN j 45-70246), AND M ERS'
                         ABILITY TO EXERCISE X TERESTS IN A
                         M ORTGAGE LOAN,FN CLUDING TIIE RIGHT
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                        TH E D ISTRICT CO URT SHO U LD HA VE
                        ItECO GN IZED TH A T M ER S' O NVN ER SH TP OF
                        A LEGA L IN TER EST IN THE SECUR ITY
                        DOCUM ENT DOES NOT EQUATE TO M ERS'
                        O AVN ER SH IP O F TH E PROM ISSORY N O TE OR
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                        TH E LOA 'N SIA D E TO TH E CO N SLl 1ER ...............................

        ll.    THE DISTRICT COURT ERRED BY FAILIN G TO
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                    STA T EM E N T O F T H E BA SIS O F JUR ISD ICTIO N

       Thisappealfrom theDistrictCotlrtofLancasterCounty,Nebraska(the''DistrictCourt''l
isbrotlghtpttrsuantto N eb.Rev.Stat.$
                                    8 25-1912. Thetrialjtldge entered the Distl-ictCourt's
Order on M ay 27,2004. The N otice of Intention to Appeal and requisite docket fee w ere filed

w ith the D istrictCourton J'tm e 25,2004.

                                STA TEM EN T O F TH E C A SE

       N ature ofthe C ase

       Plaintiff/Appellant,M ortgage'Electronic Registration Systems,l'
                                                                      nc.CGM ERSA),appeals
fkom the Order entcred by the D istrictCourtcm M ay 27,2004 in favor of Defendant/A ppellee,

the N'ebraska DepartmentofBanking and Finance (the Sr epartmenf). The DistrictCourt's
Order cam e as the resultofM ER S'Petition forRcview ,w hich M ERS filcd in the D istrictCou14

on N ovem ber 5, 2003, appealing the decision of the D epartm ent that 54ERS m eets the

requirem ents of a m ortgage banlter tm der the N'ebraska M ortgage Bankers R egistration and

Licensing Act(the''Act''),Neb.Rqv.Stat.jâ45-701to 45-721(1998and Stlpp.2003). (T38)
In the District Cotlrt's Order,the trialjudge,John A.Colborn,ruled that M ERS acquires
m ortgage loans under the A ct, and is therefore required to register under the A ct in order to

contintletoconductbusinessintheStateofNebraska.(T42) TheDistrictCourtdidnotfind that
there is a bifurcation of interests betw een the holder of the prom issol-y note evidencing a

mortgage loan and M ERS,which only holdsthe beneficialinterestin themortgage itselllin a
nom inee capacity for the ovvner and holder ofthe prom issory note sectlred by such m ol-tgage.

(T42) M ERSthen tiledthisappeal.
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B.       lssue A ctually T ried in the C ourt Below

                NvhetherM ERS acquiresmortgagesloansundertheActand isthereforc required

to register as a m ortgage bankerin N ebraska.

C.       H ow the lssue W asD ecided and n 'llatJudgm entW as Entered by the C ourt Below

                7>he DistrictCotu-truled thatNIER S does acqtlire lnortgage loarls under the A ct

and is therefore required to register as a m ortgage bankerin N cbraska.

D.       Scope oflteview

         çGA judgmentrendercd orfinalordermadebythedistrictcourtmaybereversed,vacated,
ormoditiedforerrorsappearingon therecord.''Neb.Rev.Stat.j25-1911.
         ttln actions atlaw ,the findings of the trier of factw ill ngtbe set aside cm appealtm less

clearly wrong. In detennining the sufficiency ofthe evidence to sustain thejtldgment,that
evidence must bc considered in thc lig.ht most favorable to the successg
                                                                       lkl party. Every

controvel-ted l-t
                lct m ust be resolved in favor of the stlccessfulparty,and the stlccessfulpa14y is

entitled to the benet'itofany reasonably deducible inferences.'' H enkle ct Joyce Hardware Co.v.



         On aquestion oflaw,an appellate courtisobligated to reach aconclusion independentof

the determ ination reached by the cotu-tbelow . qfJ?/lc-:v.Paulson,261N eb.980,622 N .W .2d 857

(2001).
                                  ASSIG N M EN TS O F ER RO R

                 M ER S doesnotm cetthe detiuition ofa m ol-tgagc ballkcrbecause M ERS does not

engage in any of the mol-tgage banking activities described in j 45-70246) of the Act.
Speciically,the Distlict Court en-ed in detennilzing thatNIERS itacquires''m ortgage loans.

Because NIERS does not acquire m ortgage loans and is therefore not a m ortgage bmlker for



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ptlrposesofj45-702(6),theDistrictCoul-t'sOrderand determinaticm thatMERS isrequired to
register as a m ortgage bmnker under the A ct should be reversed and tlnis Courtshould find that

M
' ERS isnota mortgage baakerundertheActand isthereforenotreqttired to registerunderthe

A.
'ct.

                The D istrict Courterred in concluding thatM ER S'ability to exercise interests i.
                                                                                                 na

m ortgage loan, including the right to foreclose, is suffcient to deem M ER S as acquiring

m ortgage loans tm der the Actbecause the D istrictCourtfailed to recognize thatM ER S m erely

selw es in a nom inee capacity for the ow ner and holder of the prom issory'note secured by the .

m ortgage.

                The District Courterred by notfinding thatM ER S'osvnership of a legalinterest

in the m ol-tgage doesnotequate to S'
                                    IER S'ow nership ofthe prom issory note.

                The D istdct Courterred by notfnding thatm ol-tgage loan consum ers willnotbe

hanred ifM ER S isnotregistered asa m ortgagebankerunderthe A ct.

                                   PR O PO SITIO N S O F LA SV

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         TI-lE C054540N PARLANCE OF THE W OIkD GCACQUIRE'' IN THE
         M O RTG A GE BAN K W G IN DU STRY R EFERS TO AN                    INV E STOR 'S
         ACQUISITION OF -
                        X M ORTGAGE LOAN ON THE SECONDM W M ARKET.
         South Boston Sav..llJ?77cv.Commissioner of Scvcns/c,640 N.E.2d 462 (Nlass.
         1994).
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         h M ORTGAGE ,4N 17 A PROM ISSORY N OTE AlkE SEPARATE .4*
         D ISTIN CT IN STR UM EN TS.

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     Case 9:12-cv-80364-KAM Document 60 Entered on FLSD Docket 08/08/2012 Page 28 of 47




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         TH E M ER SI SY STEM D OES N OT A D VER SELY A FFECT THE
         BORROW ER'S RIGHT TO LOAN INFORIM ATION BECAU SE, LTN DER
         FEDERM LAW Y EACH TIME TI-lE SERVICW G RIGHTS TO A
         M ORTGAGE LOANT CHANGE,THE BOM OW ER IS NOTIFIED OF TH E
         N'E W SERV ICER OF THE LOAN .

         24C.F.R.Part3500.21asof4/1/03(HUD'SReg.X).
                                  STA TEM EN T O F FA C TS

         M ERS is aprivate cop oration m1d is a wholly owned subsidiary ofM ERSCORP,IN C.

NIERS'solepblrposeistoholdmortgageliensinanominee(limitedfon'
                                                            nofagency)capacityfor
itsm embers. 'I7ae m ortgage iaform ation is registered on the M ERS@ System . The M ERS'
                                                                                        '

System is a national electronic registry created by the m ortgage banking industry to track the

transtkrofownership interestsand servicing rightsin mortgageloans.(T17) Overthelifeofa
m ortgage loan,the owmership ofthe m ortgage loan and the senricing rights ofthe m ortgage loan

are likely to be sold and resold many tilnes. (T16) Priorto M ERS,an assigrmnentor other
appropriate docum entw as required to be tiled in the real estate records each tim e the servicing

rights ofa m ol-tgage loan w ere transfen-ed because the new servicerneeded to appear in the land

records in order to receive service ofprocess. (Tl6) This process resulted in missed or
inaccurate assignm entscausing Cm tmclearorbroken chain oftitle to am ortgageloan in the real

estaterecords.(T16) Asaconsequence,thetransferoftheownershipimerestin,includinglegal
title to,m ortgage loans, and the servicing rights relating to m ortgage loans, and the release of

mortgagelienswasacumbersomeand expensiveprocessto al1involved.(T16) PriortoM ERS,
consum erswereespecially hithard becatlse research andrecording costswere often passed on to

constuxers.(T16)




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        To address these problem s,in        the Govenuuent NationalM ol-tgage A ssociation

t''GilmieA4ae'!),theM ortgageBallkersAssociation ofximerica (''51BA''),theFederalNational
NfortgageAssociation ('lFannie54ae''),theFetleralHomeLoanM ortgageCorporation (''Freddie
M ac'')and otherswithin them ortgagebanking industry created NIERS to provitle an electronic
l'egistration system and clearinghotlse for title to mortgage loans and servicing dghts that is

sim ilar to the process successfully used by the D epository Tl-tlst Com pany for the securities

indtlstry. (T16) TheSIERS* System hasbeen endorsed by,and NIERS'membersinclude,the
SZ
 IB-A.and m any lp
                 trge and prom inentnationaland internationallenders,agencies such asFalm ie

M ae, Freddie N
              'lac,and the A m erican Land Title A ssociation and m any of the largest and m ost

well-knovrn titlecompanies.(T16a17)
         M ERS sen'es asthe mortgagee ofrecord in a nominee (i.e.,agency)capacity forthe
approxim ately 1600+ m ortgage lenders registered in the M ER SCPI System . M ER S becom es the

m ortgagee ofrecord w ith respectto such m ortgage loans,as nom inee forthe beneficialowrner of

themortgage loan,in one oftwo ways: (1)the bonower and the lendername NTERS as the
mortgagee ofrecord atthe time the mol-tgage loan is originated,or (2) the lender causes a
m ortgage lien for which the lender previously originated or acquired the note secured by the

m ortgage to be assigned ofrecord toM ERS,so thatM ERS becolnesthem ortgagee ofrecord in

therealestaterecordsinwhichthemol-tgagewasrecorded.(E3,4:3,Vol.1l)
         By letter dated July 11, 2002, the Departlnent notified M ERS that M ERS m eets the

definitionofal'
              nortgagebalakerunderNeb.Rev.Stat.j45-702(6)(1998 & Supp.2003)ofthe
Actbecausc M ER S is ''acquiling loans as a nonlinee 17
                                                      01'lendcrs in N ebraska''. The D epartm ent

indicated thatMERS mustregistert
                               :
                               lsamol-tgagebankerin Nebraskapursuantto j 45-704 or




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notifry the D epartm ent of an cxcm ption under the A ct.

registeredasamol-tgageballkerinanyotherstate.(5:11-19)
                     After the D epartm ent's July 11, 2002 con'espondenee, M ER S and the D epal-tm ent

exchanged ntlm erous faxes, letters and phone calls concerning w hetler NIER S is required to

registerasanzortgagebankerundertheAct.(E2,E1,1-13:3,Vol.ll) On Jtlne19,2003,N'
                                                                             II
                                                                              ERS
filed aPetition forDcclaratory Order(tdpetition ForDeclaratory Order'')with the Dcpartment
seeking a form aldeterm ination asto w hetherM ER S is a m ol-tgage bankerw ithin the m eaning of

theAct,andtherefore,reqtliretltoregisterassuch undertheAct.(E3,1:3,Vol.11) lkheahngon
NIERS' Petition for D cclaratory Order was held before Samuel P. Baird (the iwDirector''),
D irector of the D epartm ent, on August 13, 2003. D uring oral argum ents, M ERS and the

D epartm entnarrow ed the issue before the D irector to the question of whether M ERS'activities

in N ebraska constitute,directly or indired ly,''acquil-ing m ortgage loaus''w ithin the m eaning ot
                                                                                                   -
                                                                                                   '

the Act. (E3,2623,Vol.1l) The Departm entissued its Declaratory Orderon October7,2003,
                                .




Iinding that M ERS is a lnortgage banker under thc A ct. A s the basis for its decision. the

D epartm ent stated thatM ER S directly ol-indirectly acquires m ortgage loans. A s the result,the

Departmentdeclared thatM ERS is required to register as a mortgage banker. (E3,25-29:3,
V01.1l)
                     On N ovem ber 5,2003,M ERS comm enced itsaction in the D istrictCourtpurstlantto the

Administrative Procedure Act,N
                             .eb.Rev.Stat.jj84-901 to 84-920 (1999 & Supp.2003),
petitioning the D istrict Courtto review tht
                                           a Departm ent's dctennination that M ERS m eets the

detinition of a m ortgage banker under the A ct. In its O rdcr, the District C ourt upheld the

D epal-tm ent's detennination thatM ERS acqtlires m ol-tgage loans under the A ct and is therefore

required tobelicensedasamot-tgagebankertmdertheAct.(T41-43)


/'jL''I.
       l.
        )Jî-!l(2h:è91ITIL.t!i
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                                        A R G UM ENT



       TH E D ISTR IC T C O U RT E R RED IN CO N CLUD IN G TH A T M ER S

       M EE T S T H E DE FIN IT IO N A <SM O RTG A GE BA N KE R M U N D ER N EB.

       REV.STAT.j45-702(6).


       M ERS DOES NOT CCACQUIREM M ORTGAGE LOANS OR ENGAGE IN
       ANY     OF    THE      O TH ER     M O RT GA G E      BA N KIN G    A C TIV IT IE S

       DESCRIBED IN j 45-702(6), ZYND M ERS' ABILITY TO EXERCISE
       IN TER ESTS IN A M O R TG A G E L O AN , IN CLU D IN G '
                                                              l'l'
                                                                 lE R IG H T TO

       FO R EC L O SE , IS N O T      SU FFICIEN T      TO     D EEM      TH A T   M ER S

       ACQUIRES M ORTGAGE LOANS BECAUSE M ERS M EIW LY ACTS IN
       A N O M IN EE C APA CITY FO R TH E O W N ER A N D H O LD ER O F TH E

       PRO M ISSO R Y N O TE SEC UR ED B Y T H E M O R TG A G E.


       Section 45-702(6)oftheActprovides: ''Mol-tgagebankermeansany person notexempt
tm der section 45-703 w ho, for compensation or gain or in the expectation of com pensation or

gain,directly or indirectlv m akes.txixinates.services,necotiates,acquires,sellssan-anaes ftm or

offers to lna
            'ke.originatç,sçvyiçesnegotiate,açquire, sell.or arranjle for telz f)r m qre m ortgage

loansinacalendaryear''.Neb.Rev.Stat.j45-70246)(1998& Supp.2003)(emphasisaddetl).
       M ER S does not take applications for, underwrite or negotiate m ortgage loans. M ERS

does notm ake or oliginate m ortgage loans to consum ers. M ERS does notextend any crcdit to

consulmers. NIIERS does notsen'ice m ol-tgage loans. M ER S doesnotsellm ortg.ag.e loans.M ost
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importantly,NfERS is notan investor w ho acqtliresm ortgage loans on the secondal'
                                                                                 y m arket.

(E3,18:3,'V01.1l)
          'rhe D epartment and M ERS agree that M ERS does not undenvrite,m ake, oliginate,

senicç,negotiate,sell,anunge for or oflbr to m ake,orioinate,service,negotiate,sellor anunge

for m ortgage loans. '
                     rherefore,the Departm ent and '
                                                   M 'ERS are in agreenlent that the only

statutol-y activity atissue,and the only issue for tlûs Courtto decidc,fs w hether N'
                                                                                    IERS acguires

nlortgage loans. (E3,26:3,Vol.1I)
          A lthough the legislative history ofthe A ctdoes notdiscuss why the tenu ttacqtlire';w as

used in j 45-70246'
                  ),the common parlance ofthe word Etacquire''in the mortgage banking
industry refers to an investor's acqtlisition of a m ortgage loan on the secondary m arket. For

instance,in South Boston ts'
                           t
                           vl& Bank v.C'omm issionert:
                                                     7/-At
                                                         rf'
                                                         . f>ldc,640N.E.2d 462 t'
                                                                                M ass.1994),
a Nlassachusetts cotll4 characterized the tw o w ays a bank m ay com e into possession 01.
                                                                                         -a

m ot-tgageloan.Thecoul't,in vS0uthBoston s't7v.Bank,stated.
                                                          .t%A bank may come into possession

of a lmol-tgage loan eitherby directly issuing a loan secured by the m ortgagc ofrealestate or bv

acgtlil-ina a loan previously-issuedbyanotherlender.
                  -       -                        ''Id.at466-67(emphasisadded).
          A brief history oî why the secondary m ortgage m arket w as created helps illustrate this

com m only tm derstood m emling ofthe term ttacquire''. The secondal
                                                                   -y m ortgage m arketevolved

to facilitate the (
                  ti'ee llow ofm oney available form ortgage loans to constlm ers. W ithotlt the

secondary m arket,plim ary m ol-tgage lenders w ould bc lim ited in thc am ountofm ortgage loans

they could m ake to consum ers because they only have so m uch capital available to m ake

m ortgage loans. Through the secondary m arket, invcstors acquire loans tkom the prim ary

m ortgage lenders,thtlsproviding prim ary lendcrs w ith m ore capitalto m ëtke additionalm ortgage

loans. The seconda'
                  t'
                   y m arket ultim ately provides a frce-flow of cash to m ortgage lenders to



J-:7)/3031.51.5
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m ake loans to consum ers to purchase hom es. The prim ary m ol-tgage lenders benefit because

they have additionalcapitalto m ake m ol-e loans and tlw y also reeeive theil-ordinal-
                                                                                     y lender's

fees/com m issions fororiginating the loan. Thc investorsbenet'
                                                              itbecause,asoqvners ofthe loans,

they are entitled to the interestincom eto be efuned fl-om the loans. Consumersbenefitbecause

there are m ore funds available for m ortgage loans so m ore consum ers can get m ortgage

'
1'inancing.

       Besidesloan ttservioinf'activities,at1ofthemol-tgagebalzking activitiesdescribed in j
45-702(6)involvethe extensionofcredit.ThisCourthaspreviously recognized thatmortgage
bankerslend molqm ,to consum ers. ln Equitable s?
                                                ,
                                                //
                                                 '/l&lg and Loan zzl,
                                                                    s',
                                                                      swt
                                                                        aW/ïtp??tïtfGrand Island

v.Equitablelblortgage tlWrr
                          /ptw'
                              tzfl'
                                  o/l,11Neb.App.850,662N.W'.2d 205 (Neb.2003),thecourt
stated that tta m ortzajze banker actuallv lends its ow n m onev,zloses the loans,earns a service

premium forthe loans,and then sellstheloansto anotherbank.''1(1.at209 (emphasisadded).
The question then becom esw hethcrM ERS lendsm oney to consum ers to ptlrchase hom es,either

atthe prim ary or secondary level. It is not clisputed that M ERS is not a prim ary lender w ho

lnakes, originates, or negotiates or arnm ges tbr the m aldng or m-iginating of a m ortgage loan

directly to a constuner. Similarly,M ERS is not an investor who acquires or negotiates or

arranges for the acquisition ogm ortgage loans o'
                                                n the secondary m arket or a bank or sel-vicing

company which accluires the servicing lifa
                                         rhts to mortgag'e loans for fee income. (E3, 18:3,
Vol 11)
'
       Tllel-e is no l-ationalbasis fol-detennining that M ER S acquires loans. ln its Order, the

D istrictCourtstated'
                    .

       The procedures for m em bers using the M ER S system and doctlm ents used for

       recordingthemol-tgages(or)othersectlritydocumentsrct-
                                                           crenceNIERSashaving
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          therighti'to exercise interests,including,btltnotlinlited to,the l'
                                                                            ightto foreclose

          and sellthe property,and to take any action required ofLender including,butnot

          limited to,releasing and canceling this Seculity Instnlm ent.'' NIERS' active

          pm-ticipation in the m ortgage loan indtlstry ofindirectly ordirectly acquiring legal

          title to m ortgages along w ith the atnility to exercise lender rights such as

          foreclostlre are sufficient to classify S'
                                                   IERS as ççacquiring''lnortgage loans as

          rcferencedtlnderNeb.Rev.Stat.j45-70246).(T42)
          ln its Order,the D istrict Court failed to recogn
                                                          . ize that M ERS,in its agreem cnt w ith its

m enlbers,cnnnotexercise,and is contracttlally prohitnited from exercising,any ofthe rights or

interests in the m ortgagesor other security doctlm ents. M ERS is nam ed as tlle ttnolninee''owner

unless and untilit is authorized to do so by the real and benelicial owmers ofsuch security

            .,
docum ents. (138-43) ln theTennsand ConditionsbetweenM ERS and itsmembers,NIERS'
authority is clearly lim ited as evidenced by the follow ing provision from the Tenns and

Conditions'
          .

          M ER S shallserve as m ortgagee ofrecord w ith respectto al1such m ortgage loans

          solely as a nom inee, in an adm inistl-ative capacity,for the beneficial owner or

          ow ners thereoffrom tim e to tim e. M ER S shallhave no rights w hatsoever to any

          paym ents m ade on accountofsuch m ortgag.e loans,to any senricing rights related

          to such m ortgage loans,or to any m ol-tgaged properties sectu-ing such m ortgage

          loans. N
                 'r
                  IERS agreesnotto assertany rights(othcrthan rights specified in the
          Governing. Docum ents) with respect to such mortgage loans or mortgaged

          properties.(E3,13'
                           .3,Vol.1I)




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         S'
          IER S only acts when directed to by its m em bers and forthe solc benefitofthc owners

and llolders of the prom issory notes secured by the m ortgage instrum ents nam ing M ER S as

nom inee ow-ner. For this reason,M ERS'àbility to exercise any interests in mortgage loans,

including the rig.ht to foreclose, is not sufficient to deem M ER S as acquiring m ortgage loans

under the Act because NIER S does not receive any of the benelits from taking stlch actions.

NIERS hasno interestatal1in theprcunissory noteevidencing them ortgageloan. A/IERS hasno

f-
 inancial or other intcrest in whcther or not a m ortgagc loan is repaid. A s described above,

(
M ER S sim ply holds m ortgage liens in a nom inee capacity and through its electronic registry,

tracks changes in the ownership of lnol-tgage loans and the servicing rights related thereto.

M ER S is clcarly listcd asa nom inee in the m ortgage,w hich isrecorded in the realestate records.

W hen a M ERS mem ber sells or trr sfers a m ortgage loan or the senricing lights theretlnder,

M ER S tracks such sale ortransferin the M ER SCM System and there isno need for tsling. anything

in the realestate records becatlse the m ol-tgage lien rem ains w ith M ER S. Once M ERS becom es

tlpe m ortgagee ofl'ecord of a m ortgage,M ERS rem ains the m ortgagee of record ofthe m ortgage

even when the beneficialow nership interestin the prom issory note secttred by the m ortgage or

the selwicing rightsare sold ortransfen-ed from one M ERS memberto another. (E3,3-5:3,
Vol.11) ln addition,M ERS is reqtlired by the various State recording statutes to have a
recordable interest in the m ortgagc in order lbr M ERS to be nam ed               the m ol-tgage.

C onsequently,M ER S is nam ed as the m ortgagee in a nom inee capacity for the actualow ner and

holderofthe prom issory note secured by the m ortgagee as described above.

         M ERS isnotthe owneroftheprom issory notesecured by the m ortgageand hasno rights

to thepaymentsm adeby the debtoron such promissory note.Rather,M ERS holdsthem oldgage

lien as nom inee for the ow ner ofthe prom issory note. NIER S isnot the ow ner ofthe selw icing



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rights relating to the lnortgage loan and M ERS doesnotservice loans. The beneficialinterestin

the mortgage (or theperson orentity whose interestissecured by the mortgage)runs to the
ow ner t
       m d holder of the prom issol'
                                   y note. ln essence,N'
                                                       IERS il-nm obilizes the m ol-tgage lien

whiletransfersofthepromissorynotesandservicinglightscontinuetooccur.(E3,5'
                                                                         .3,Vol.l1)
       Fol' the foregoing reasons, M ER S calm ot be deem ed to be acquiring nzortgage loans

under the A ct and does notothenvise m eet tlae detsnition of a m ortgage banker. Consequently,

the Court should reverse the District Court's Order that (
                                                         M ERS is required to register as a

m ortgagebaliker.

                                              I.B .

       TH E D llsrlnl'
                     tlf3
                        ,'
                         .
                         17 CO UR T SH O ULD H A VE R EC O G N IZED TH A T I'
                                                                            IER S'

       O W N ER SH IP    OF         LE G AL    INTE REST       IN   TIIE    SEC U W TY

       DOCUM ENT DOES NOT EQUATE 1'0 MERS'OW NERSHIP OF THE
       PR O M ISSO RY N O TE O R O TH ER D EBT IN ST R UM EN T EV IDEN C IN G

       '
       l'
        H E LO AN M -YD E '1'0 TH E CO N SUM ER .


       Each of the categories ofpersons listed in j 45-702(6) directly orindirectly receive
consideration from m ortgage loans and have an ow nership or servicing interest in thc notes

secured by m ol-tgages. A s m ore f
                                  '
                                  izlly explained below , M ER S does not m ake or acquire

prolnissory notes or debt instrum ents ofany naturc and therctbrc cannot be said to be acqttiring

m ortgage loans. NIER S sim ply holdslegaltitle to m ol-tgages and deeds of trustasa nom inee for

the owner ofthe prom issory note.NIERS has no interestin the notes secured by m ortgages orthe

servicing rightsrelated thereto.
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         The Departm ent asserts that M ERS directly or indixectly actp ires m ortgage loans

becauseM ERS holds legaltitleto deedsoftnlstorm ortgagesin anominee capacity forlenders.

At the hearing on (
                  M ERS' Petition for D eclaratory O rder, counsel for the D epm m ent stated:

QtM ERS isthem ortgagenominee orbeneficiary nolninee. Therefore,itacqtliresthe les
                                                                                 qaltitle to

the mol-tcaxe loan when the conveyance is recorded.'' (E2,5:3,Vol.l1) Furthennore,the
DepartmentassertsthatM ERSholdstitletoNebraskarealproperty. (E3,4-5:3,Vol.ll) These
assertions by the Departm ent a'
                               rc in error. M ER S holds legal title to the m ol-tgage or deed of

trustin a nom inee capacity simply to imm obilize the m ortgage lien in M ERS and to provide

M ERS w ith a recordable interestto comply with the recording stattltes of various states. The

m ortgage loan refersto the prom issory note to which N'
                                                       IER S does notacquire any interest.

         rfhe D epartm ent's fm alysis is fundam entally flaw ed becatlse it fails to l-ecognize 2m

im portant (
           1istinction betw een a loan instnlm ent and a security instrum ent. By stating that

M ERS acquires legaltitle to the thnortgage loa1A'',the D epaltnentconfusesthe analysis. NIIER S

doesnotacquireanyinterest(legalorbeneficial)intheloanillstnlment(i.e.,thepromissoly note
orotherdebtinstrument). Rathev,M ERS,in anominee capacity forlenders,merely acquires
tegaltitletothesectu-ityinstnuuent(i.e.,thedeedoftt-ustol-mol-tgagethatsecurestheloan).
         The Depal4m ent'sposition thatitm ortgage loans are not legally divided tm der the A ct''is

incon-ect. ln j 45-702(6-
                        ),theword %çmortgage''modifsestheword tçloans''to specify certain
ty-
  pes ofloans -.loans sectlred by interests in realproperty. The A ct's definition of I
                                                                                      Attm ortgage

loan''in j 45-70248)makesthispointeven morecertain. Secticm 45-702(8)oftheAd defines
ûâm ortgage loan''to m et
                        m ttkm v lpan or extension of credit secured by a lien on real property,

including a retinancing ofa contractofsale oran assum ption or retinancing of a priorloan or

extensionofcredit.''Neb.Rev.Stat.j45-70248)(1998and Supp.2003)(emphasisadded).


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         Absentanjzthing to the contrary,statutory language isto be given its plain m eaning,and a

courtw illnotlook beyond a statute or intep retitw hen the m eaning ofits w ords are plain,direct

and unambiguotls. DLIL .Jz7c.v.Lancaster trt-
                                            ?l/zl()zBoal'd qfCommissionob
                                                                        s,264 Neb.358,648

N.W .2d 277 (2002). Furthcr,in fittle#/pfcNaturalA'c,s.
                                                      ta/
                                                        ,//'
                                                           casDistrictv.LowerPlatteNorth
ArJ///zu/Resources.
                  D/*
                    .
                    $,/rïc/,206Neb.535,294N.'
                                            W .2d598(1980),thecourtstated'
                                                                         .
         Cardinqlrlllçs ofStgtlàtçlo,qpnptrl
                                           w tirm ,hqyyqyer,prohibityJs ztkpm ignorjng-qntim
                                                                                -




         phrases of a statute or civing the plain m eaning of a statute a strained or absurd

         interpretation. ttW here the language of a statute is plain and unalnbiguous, no

         interpretation is needed and the cotll4 is without quthority to change the

         language.'' Cilv of G/-
                               t'
                                7?'
                                  lJ lsland v.Ctpl/zl/y (?/'I-
                                                             1all,196 Neb.282,286,242
         N.W .2d 858,86l(1976).
                ln intep reting the m eaning of a statutory provision,the w hole provision

         should be read in order to anive at a conclusion as to its proper m eaning.

         Petnkrew v.I-
                     lomeIns.Co.,19.1 Neb.312,214 N.W .2d 920 (1974). M oreover,
         courts should give stattltory language its plain and ordinary m eaning. State v.

         Olte 1970 z-lloor kv(?lt7?7 Rambler,        Neb.462,215 N.W .2t1 849 (1974).
                                                                                    ,
         t7(?zIz7(.
                  ?r<
                    $-3'.Pantano,165Neb.515,86N.$V.2d 367 (l957).
LittleBluehTatul.alAcx
                     s-tp/frt7tds'District,294N.W .2dat603 (emphasisadded).
         From theplain faceofj,45-702(8),itisclearthattheActisintendedtoregtllateandto
require the licensure of persons w ho, inter tz//
                                                'J, acquire tiloans''F not persons w llo acquire

m ortgages,deeds of trtlst or other seculity instrtlm ents. T1&e w ords ttany loan or extension of

cl-edit''setforth in j45-702(8)clearly suggcstthatthelendingofmoney orextending ofcredit
oran-anging forornegotiatingthelendingofmoney (fbrexamplealoan broker)isthecondtlct


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being regulated by the A ct.           ''plain lneaning'' interpretation of tlle Act's definition of

''m ortgage loan''isin aecord w ith the conunonly undm-stood m eaning ofthew ord ''loan''.

        W ebster's Dictionary defines ''loan''as:m oney lent atinterest'
                                                                       ,solnething lentusually for

the borrow er's tem porary usc;etc. M erriam %'ebster'sCollegiateDictionary 683(10t
                                                                                  bed 1993).
Since è
      'IERS does notacquire any interestin a debtinstrtunentevidencing a loan (i.e.,money
      k

beinglentatinterest)anddoesnotmakeloans,arrangeforloansornegotiatethetenusofloans,
it camnot be said to be aoquiring loans, including m ortgage loans, and therefore it logically

camAotbe deelzled a nnol-tgage ballker. Thus,tm der a ''
                                                       plain m eaning''intem retation of the A ct,

including the definition of a m ortgage banker,in order for a person to acquire a m ortgage loan,

sucll person must acquire a legalor benelicialinterest in the prom issoq
                                                                       ry note or other debt

instrum entevidencing such m ortgage loan.

        As delnonstrated above,the A ctdistisguishes the interests in the prom issory note ordebt

instnlm enton the one hand,from interestsin the deed oftnlstor security instrum enton the other.

It is im portant to tm derstand thatSIERS m ay acquire a legalinterest in a m ol-tgage or deed of
.




+ 1st (as nom inee for the actuallender)withoutacquiling any col-
                                                                responding interest,legalor
benefieial,in the prom issory note secured by such deed oftl-ust. This is because the note owner

appoints M ER S to be its agentto only hold the m ortgage lien interest, notto hold any interestin

the note. Besides M ERS,other parties acquire legalinterests in deeds of tl-ust withoutbeing

deem ed m ortgage bankel-s under the A ct. For instance,under the N ebraska Trtlst D eeds A ct,

Neb.Rcv.Stat.jj 76-100lto 76-1018 (l996 and Supp.2003),a borrowermay eonvey real
property by a tw stdeed to a third party trustee as seeul'ity for the perfonnance of the borrow er's

obligations to his/her lender. A lthough a tl-ustee under the N ebraska Trust D eeds A ctreceives

legaltitle to the trustdeed seculing the borrow er's obligations,the trustee often dpes nothold an
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interest(legalorbeneficial)in thepromissol'
                                          y noteordebtinstrumentevidencingtheborrower's
obligations. A s such,the trustee m erely holds legaltitle in a nom inee capacity for the lender,

m uch like NIERS. Y et,neitherthe TnzstD eeds Actnorthe M ortgage Bankers A ctrequires stlch

trtlsteesto rcgister as a lnot
                             -tgage banker,despite holding legaltitle.

           In addition to the foregoing,cotu-ts have frequently noted the cl-iticaldifference betw een

loan instrum ents and secmity instrum ents. A m ortgage and a prom issory note are separate and

distinctdoctuments.(-'.
                      addock î?.Brinkley,671So.2:1662,665(M
                                                          . iss.1996).
           A ccordingly,a person m ay hold legal title to a note w hile appointing another entity to

hold legal title to the m ortgage securing such note. ln the m ol-tgage ballking industry, it is

standard industry practice for an investor,such as Fatm ie M ae or Freddie X'
                                                                            lac,to hold legaltitle

to notesseeured by m ol-tgages and use a separate sel-vicing entity to hold title to the m ortgage via

a recorded m ortgage or assiplm ent. $$
                                      'rith the developm ent of N
                                                                'IERS,these interests are now
                                                                 .




splitthree w aysinstead oftwo. The investorcontinues to ow n and hold the prom issory note,but

tmder the NIE1kSt
                '
                : System , the servicing entity only holds contractual servicing rights fm d

N/IERSholdslegaltitleto themortgageasnomilneefo<tlnebenefitoftheinvestor(orownerand
holderofthenote)andnotforitself.N
                                'IERSdoesnotholdanyinterest(legalorbeneficial)in the
prom issol-y notes thatare secured by such m ortgages or in any senricing rights associated w ith

the m ortgage loan. 'Fhe debtol-on the note ow es no obligation to NIERS and doesnotpay M ER S

on t14e note. M ERS holds legaltitle to tlne m ortgage for the beneftoftlne ow ner ofthe note. ln

effect,the m ol-tgage lîen becom es itnm obilized by M ER S continuing to hotd the m ortgage lien

w hen the note is sold from one investorto anothervia an endorsem entand delivel'
                                                                                y ofthe note or

the transfcr of the senricing lights from one M ERS m em ber to another M ER S m em ber via a

purchase and sale agreem ent w hich is a non-recordable contracttlal right. Legal title to the


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m ortgage rem ains in M ER S afler such transfers and is tracked by M ERS in its eleetronic

registry.(E3,4-5:3,'Vol.ll)
            A s dem onstrated above,M ER S cmm otbe deem ed to be acquiring m ortgage loans under

the A ctbecause itdoes notobtain legalor beneficialtitle in loan instnurcnts. M ERS does not

acquîre an interestin prom issm-y notesol-debtinstrtunentsofany nature.Plainly intem l-eted, the

Ad reqtlires the licensttre ofpersons who acqtlîre loans of the moltqAjm valietv (i.e.,loans

sccuredby l
          uortgages).Forthesereasons,theCaourtshouldrecognizethatM ERS'ownership of
a legalinterest in the security doctlm ents registercd on the M ERS@'System does notcquate to

M ERS ownership ofthe detntinstrum entseviclencing the loansm ade to consum ers. The Court

should fku'
          ther recognize thatw ithout ow ning an interestin the debtinstrttm ents,NIER S cannot

be deem ed to be acqttidng m ortgage Ioan: under the Ad . A s a result,the Courtshould reverse

the DistrictCoul-t'sOrderthatM ERS is required to be registered as a m ortgage ballker.

           For the foregoing reasons,the D istrict Coul4 en-ed in concluding that M ER S m eets the

detinition ofa''Inol-tgagebanker''tmderNeb.Rev.Stat.j45-702(61.Consequently,theCourt
should reverse the D istrictCourt'sO rderand determ ination thatNIER S isrequired to register as a

mortgage bankerunderthe Actand the Courtshould find thatM ERS is nota m ortgage bankcr

undertheActand istherefbre notrequiredto registertlndertheAct.

                                                 I.
                                                  I.

           T1(
             IE DIST RICT CO UR T ERR ED B Y FA ILIN G TO D ET E M IIN E TH AT

           M O R TG A G E L O A N CO N SU M ER S W ILL N O T BE H A RM ED IF M E RS

           IS N O T R EG ISTER ED A S A M O R TG A G E B AN K ER .




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          The D epartm entassertsthata num ber ofpotentialproblem s form ortgage loan custom el's

could arise ifYIERS isnotregistered as a m ortgagebanker,including:

                 NIERS kecps a11 of its records for m ortgage transactions in its ccntral

                 database,which isaccessible only to itsclientswith a legalinterestin the

                m ortg.age.

          2.    'W ithout licensure, M ER S is not required to post 7
                                                                    1 surdy bond or other

                 fol'
                    m of security to protect consum ers from dam ages resulting from its

                potentialinaction or action.

                 Due to the privatc nature of SIERS' business, if M ERS goes out of

                btlsiness,its records m ay becom e completely inaccessible to the public

                and the expensesto update the pttblic records m ay be signilicant.

          zj
          x-    NIERS m ay failto tinlely release the sectu-ity interest itholds legaltitle to

                undera deed oftrustorm ol-tgage w hen a m ortgage loan ispaid ofll

                Consum ers m ay discover that real estate liens m-e notpropcrly recorded,

                and ifM ERS is notrequileed to m aintain a license,M ERS doesnothave an

                incentive to answ erconstlm erconp laints and consum ers would nothave a

                venue.(E2,10-11:3,V'
                                   ol.11)
         The Depal-tm ent's concern w ith each of these potential problem s is m isplaced. In the

m ortgage banking industt'y, after a m ortgage loan is m ade, it is standard pl-actice for the

prolnissory note evidencing the loan and the senicing rights associatcd w ith the loan to be

transferred,sold and resold many tim es. Prior to M ER S, an assignm ent or other appropriate

docum entwasrequired to be liled in the realestate records each tim e the servicing rights ofa

m ortgage loan w ere transfen'ed because the new sen icer needed to appear in the land recorcls in


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ol-derto reeeive seniceofpl-oeess.Thisresttlted in m issed orinaccurate assignm entscattsing art

unclear orbroken chain oftitle to a m ortgage loan in the realestate records. A s a consequence,

thetransferoftheownership interestin,including legaltitleto,m ol-tgageloans,and theservicing

l-igh
   t
   z ts relating to m ortgage lotm s, and the release of m ortgage lîens w as a culzlbersom e :m d

expensive process to al1involved.includîng consum ers because the research and recording costs

areozenpassed on totheconsumer.(E3,3:3,Vol.11)
           The M Eltsrk System provides an enorm ous cost benefit to consum ers beeause these

recording and research costs,w hich w ere form ally passed on to the consum ers,no longer exist

tmderthe M ERS* System .The M ERSW System sim ply isa way to increase the efticiency and

acctu-acy of tracking the ow nevship of the rights associated w ith m ortgage loans so that the

m ortgage industry can better and m ore econom ically selwe a g.reater num ber of people. W hat

M ER S track's are non-recordable transfers. Servicing tights are transfel-red vis-à-vis a purchase

and sale agreem entw hich is a non-recordable contract right. The beneficial note interests are

transferred by endorsem entand delivery ofthe note w hich is also a non-l-ecordable event.

m ortgage lien rem ains w ith NIERS so no assignm ent of the m ortgage lien is needed w hen these

non-recordable transfet-s occur and are tracked on the M IER SI!V System .

          O ther than the cost savings that the SIT
                                                  ERSt
                                                     -
                                                     : Systcm passes on to consum cl-s of loans

from M ER S m em bers,consum ers aTe largely ttnaffected by M ER S;involvem entin the m ortgage

bankingindustry. (tistnlethatM ERS'registryordatabase(trackingtheownership interestand
servicing tights)isonly accessible by M ERS'm enzbers,thepublic,atno cost,hasaceessto the
nam e and telephone num ber ofthe ctu-rentm ortgage selwicer7 days a w eek,24 hours a day. ltis

the senricer that the consumer needs to contact for specitic loan inform ation, not M ERS.

M oreover, the M ERSI System does not adversely affcct the borrow er's dght to such


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information because,under federal lawsa each tim e the servicing l-ights to a m ol4gage loan

change,theborrow erisnotitied ofthe new selwicerof the loan. See 24 C .F.R .Pm4 3500.21 as of

4/1/03IHUD'SReg.X).
          Furtherm ore, none of the othel- potential problem s noted above by the D epartm ent

adversely affectconsum el's. M ERS is largely transparentto the consum er. Odginallendersof

m ortgage loans,investorsw ho purchase oraequire m ortgag.e loans on the seeondary m arket,and

servicers ofm ortgage loans are the ltpersons''under the A ctthatm ortgage loan constmlers need

to be protected from because it is these persons w ho actually underw l-ite loans, m ak
                                                                                     ' e loans,

service loans,acquire loans,and tlltim ately decide w hetherornota consum eris in defatllton the

loan.

          M ERS does notcollectm ortgage paym ents. M ERS does nothold escrow s fortaxes and

instlrance. M ER S does not provide any selwicing functions on m ortgage loans, whatsoever.

Those rights are typically held by the servicerofthe loan,w ho nzay orm ay notalso be the holder

ofthe note. The benefbcialinterestin the n'
                                          tortgage (or the pm-son or entity whose interest is

securedbythemortgage)nmsto theownerantlholtlerofthepromissory note and/orservicing
rij
  i
  ,hts theretlnder.

          From a consum er protection standpoint,M ER S is invisible to a consum er. ln the event a

consum er has a pl'oblem w ith his/her m ortgage loan, such consum er is not going to contad

M ER S,butthe servîcer ofthe loan. A s M ER S m erely holds legaltitle to the semttity instrum ent

asnom inee fbrthe lender,itlacks authority to do any-thing morc than notify the lcnderorloan

senicerofthe consum er'scomplaint. Otherthan holding legaltitle to the sectlrity lnstnmaentin

order to inunobilize the lien in the realestate records,any other action taken by S/
                                                                                   IERS with




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respectto a consunler's mortgage loan is taken attlle directinstruction of the lender or loan

selwicerand for such lenderorloan servicer's benefit.

         -r0 further illustrate this lack of authority, the Tenns and Conditions govem ing the

relationship w ith NIER S and itsm em bersprovides:

         MERS sballserve asmortgagee ofrecord with respectto a11such m ortgage loans

         Solely as a lAol'
                         1Aineeyin an adlzlinistrative capacity,for the benelicialowner or

         owners thereof from tim e to tim e. M ERS shallhave no lights w hatsoever to any

         paym ents m ade on accountofsuch m ortgage loans,to any selaicing rights related

         to stlch m ortgage loans,or to any m ortgaged properties sectlring such m ortgage

         loans. M ERS agreesnotto assertany rights (otherthan rights specified in the
         Govenling Docum ents) with resped to such mortgage loans or moE
                                                                       rtgaged
         properties.(E3.l3:3,Vol.1l)
         Based tlpon the fbregoing,there is no benefit to m oE
                                                             rtgage loan consttm ers in requiring

M ERS to be licensed as a m ortgage balzker. M ERS' sole ftmction to the mortgage ballking

industry is to track changes in t14e ow nership and senzicing rights in m ortgage loans on its

electronic registry. 11)order for M ER S to track such changes,the recording law s require M ERS

to bold legaltitle to the deed oftnlst securing the constuner's m ol-tgage loan in a nom inee or

adm inistrative capacity for the real lender. The Act is intended to protect consum ers from

lende'
     rs and loan service providers,not M ER S,because these al'e the pm-ties thatm ake decisions

wîth respect to consum ers' m ortgage loans. Any action taken by M ERS w ith respect to a

eonsttmer'smortgage loan istaken atthe directinstruction ofthelenderorloan serviceprovidel'.

Because consttmers will notbe harm ed ifM ERS is notregistered as a m ortgage banker,the




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Courtshoutd reverse the Distrid Coui-t's Ordel'that NIERS is required to be reg.istered as a

lnortgage ballker.

                                        C O N C LUSION

               N
               'IERS doesnotm eettheAct'sdetinition ofam ortgage ballker. M ERS doesnot

directly or indirectly l'
                        nakes oliginate, smwice negotiate,acquire,sell, al-
                                                                          range for or offer to

m alte,o'
        riginate,serviee-negotiate,acquire,sell,an-ange form ortgage loans. (
                                                                            M ER S does not

receive com pensation or gain in consideration for its perform ance of any of the lnortgage

banking activities described in the A ct. M ERS does not obtain legal or benet-icial title to

pronAissory notes o'
                   rother debt instrtunents;therefore,under a 'kplain m eaning''interpretation of

the A et,itc'annotbe deem ed to be acquiring m ol-tgage loans. Finally, m ol-tgage loan consum ers

w illnotbe hanned ifNI.
                      ER S is notrequired to register as a m ol-tgage banker. For the tbregoing

reasons,NIERS isnotalnortgageba
                              'rtlk
                                  'erforpurposesofj 45-702461.and theDistrictCourt's
O rder and conclusion that M ERS is required to register as a m ortgage banker under the A ct

should be reversed.

       D ATED this 14thday ofo ctober, 2004.

                                            M ORTGA GE ELECTRON IC REGISTRATION
                                            SY STEM S,IN C .,Plaintiff/ytppellfm t

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                                                  -)2)392-1250
                                                A ttorneys forPetitioner/plaintiff
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                                 CERTIFICATE OF SERVICE

       Ihereby cel-tify thatacopy ofthe abovetmd foregoing BriefOfAppellantw asserved upon
Defendlm t/z
           xppellee by m ailing two copiesofsam e to the following addressesby regularUlAited
Statesm ail,postageprepaid,tllis14th day ofOctoberp2004:

               N ebraska Departm entofBanking and Finance
               Sam uelP,Baird,D irector
               1200 N St.,Ste.311,R'he Atrium
               Lincoln,N ebraska 68509

               N'
                ebraskaDepartmentofBankingap/cFin'ance
               c'
                /'o .
                    <
                    Xttorney G eneral          .,.'
                                               ,


               2115 State CapitolBldg.
               Lincoln,N ebraska 68509
               Attention' . Fredrick F.N eid                    zr


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